Case 1:12-cV-01505-RI\/|-I\/|EH Document 85 Filed 06/16/14 USDC Colorado Page 1 Of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Aetion No.: iZ-cv-Oi§OS-Ri\/I-MEH

STEELE STREET BANK & TRUST, as Consetvator for S.R., a minor,
Plaintiff,

V.

PELHAl\/I STAPLES, IV, as Executor of the estate ot` Pelham Staples, M.D.,
SCOTT STAPLES, as executor of the estate of Pelham Staples, M.D.,
CATHOLIC HEALTH iNITIATI\/ES COLORADO, a Colorado Coi'poration, d/h/a St. Thomas

More Hospital, and
CANON CITY OB/GYN, P.C., a Colorado Corporation,

Dcfendants

 

ST§PULATIGN FOR DISMISSAL WITH PREJUDICE

 

Ali parties to this action, by and through their respective counsel, hereby Stipuiate to the
dismissal of this action with prejudice, pursuant to Fed. R. Civ. P, 4i(a)(l)(A)(ii), with each

party to pay his, her, and/or its own costs and attoi‘neys’ fees.

%/%C,_/,f §//,D/( EY{e//§/ {/Q(<h“€/`\/`i“:;?bdé\£i,gé( 5/9/2014

 

 

 

Pau| M./I\/iahonéy \/ Robert Ruddy Date
THE MAHONEY LA FIRM P/ CD ROBBRT RUDDY, P.C.

3300 E. ist Avenue, Suite 480 1512 Larimer Street, Suite 600

Denver, CO 80206 Denver, CO 80202

(303) 987-2210 (303) 607-0077

Attoi~ney for Plaintit`t` Attorney for Det`endant Staples
(/%W¢ .. .- usm/§§/§§{

Chad i<. Giuém ome

FENNEMORE CRAIG, P.C,

1700 Lin<;oln Stl'eet, Suite 2900

Denver, CO 80203

303-291-3200

Attorney for Defendant Catholic Heaith lnitiatives Colorado

 

 

 

